          Case 4:19-cv-06669-JST Document 75 Filed 12/22/20 Page 1 of 3


1    CHRISTOPHER GRIVAKES
      cg@agzlaw.com
2    DAMION ROBINSON
      dr@agzlaw.com
3    AFFELD GRIVAKES LLP
     2049 Century Park East, Suite 2460
4    Los Angeles, CA 90067
     Telephone: 310.979.8700
5    Facsimile: 310.979.8701
6    Attorneys for Plaintiff ROBERT ROSS
7

8

9                          UNITED STATES DISTRICT COURT
10                       NORTHERN DISTRICT OF CALIFORNIA
11                                  OAKLAND DIVISION
12

13   ROBERT ROSS,                              CASE NO. 4:19-CV-06669 (JST)
14                     Plaintiff,              PLAINTIFF’S SECOND NOTICE OF
                                               ERRATA RE: FILING FIRST
15         vs.                                 AMENDED COMPLAINT
16   AT&T MOBILITY LLC,
17                     Defendant.
18

19

20

21

22

23

24

25

26

27

28



                  SECIND NOTICE OF ERRATA RE: FILING FIRST AMENDED COMPLAINT
          Case 4:19-cv-06669-JST Document 75 Filed 12/22/20 Page 2 of 3


1          Plaintiff ROBERT ROSS (“Ross”) inadvertently filed an incorrect version of the
2    First Amended Complaint (“FAC”). The proper version is attached hereto as Exhibit
3    A.
4

5
     DATED: December 22, 2020             CHRISTOPHER GRIVAKES
6                                         AFFELD GRIVAKES LLP
7

8                                         By: /s/ Christopher Grivakes
                                                           Christopher Grivakes
9

10                                        Attorneys for Plaintiff ROBERT ROSS

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                              2
                     NOTICE OF ERRATA RE: FILING FIRST AMENDED COMPLAINT
          Case 4:19-cv-06669-JST Document 75 Filed 12/22/20 Page 3 of 3


1                                   PROOF OF SERVICE
2         I hereby certify that on December 22, 2020, I electronically filed the foregoing
     document using the Court’s CM/ECF system. I am informed and believe that the
3    CM/ECF system will send a notice of electronic filing to the interested parties.
4                                                  s/ Christopher Grivakes
                                                   Christopher Grivakes
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                               3
                      NOTICE OF ERRATA RE: FILING FIRST AMENDED COMPLAINT
